         Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 1 of 10




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                                 21 CR 6099 (FPG)
       v.
                                                        SENTENCING MEMORANDUM
DANIEL HAYS,

                     Defendant.
___________________________________


                                       INTRODUCTION

       I represent the defendant, Daniel Hays, in the above-captioned case. I submit this

Sentencing Memorandum in support of Hays’ request for a sentence that is sufficient, but not

greater than necessary. Attached to this Memorandum is the following exhibit submitted for the

Court’s consideration:

       Exhibit A:        Letter Accepting Responsibility by Daniel Hays



                                    PROCEDURAL HISTORY

       Daniel Hays pled guilty to one count of receipt of child pornography (18 U.S.C. §

2252A(a)(2)(A)) before your honor on July 19, 2021. A Presentence Report (PSR) was prepared

on September 24, 2021, to which the defense has no objections. Hays has been in federal custody

since his arrest on May 11, 2021.

       Summarily, Hays engaged in a sexual Internet chat with a law enforcement officer, whom

he thought was an 11-year-old girl. In one of the chats, he asked her to send him a naked photo.

On May 11, 2021, Hays traveled from his home in Chaffee, New York, to Waterloo, New York,
         Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 2 of 10




to meet with the “minor” for sexual purposes, but was instead apprehended by law enforcement.

Hays has been in custody since that time.



                                    SENTENCING FACTORS

       In United States v. Booker, 543 U.S. 220 (2005), the Supreme Court held that the United

States Sentencing Guidelines (“USSG”) were no longer mandatory. Although the Court must

still properly calculate and consider the advisory Guidelines range, the Court may not presume

this advisory range is reasonable and need only give this range fair consideration before

imposing a sentence. United States v. Jones, 531 F.3d 163, 170 (2d Cir. 2008). The advisory

Guidelines range now serves as merely an initial benchmark for sentencing, which is ultimately

considered along with other 18 U.S.C. § 3553(a) factors. See Rita v. United States, 551 U.S. 338

(2007); Kimbrough v. United States, 552 U.S. 85 (2007); Gall v. United States, 552 U.S. 38

(2007). The section 3553(a) factors include: the characteristics of the offender and offense; the

need for the sentence imposed; the legally available sentences; applicable policy statements of

the Sentencing Commission; the need to avoid unwarranted sentencing disparity; and the need to

provide restitution, where applicable. Section 3553(a) mandates that any sentence imposed be

sufficient, but not greater than necessary to meet the basic goals of sentencing including

retribution, deterrence, incapacitation, and rehabilitation.

       In Gall, the Supreme Court made clear that sentencing courts have great discretion in

formulating appropriate sentences. Gall, 552 U.S. at 51 (recognizing that the sentencing judge is

in the “superior position” to impose a sentence based on the unique facts and circumstances of

the case). "[I]n the end, [the Court] must make an 'individualized assessment' of the sentence

warranted by § 3553(a) 'based on the facts presented.'" Jones, 531 F.3d at 170 (quoting Gall, 552



                                                  2
         Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 3 of 10




U.S. at 50). In determining an appropriate sentence, 18 U.S.C. § 3553 mandates the Court to

impose a sentence that is “sufficient, but not greater than necessary.” Therefore, if the district

court concludes that either of two sentences would properly serve the statutory purposes of §

3553(a), the lesser sentence must be imposed. United States v. Ministro-Tapia, 470 F.3d 137,

142 (2d Cir. 2006).



                      REQUEST FOR A NON-GUIDELINE SENTENCE

        The advisory sentencing guidelines in this case are 168-210 months of confinement (PSR

Para. 62). The mandatory minimum sentence for Hays’s offense is 60 months of confinement

and the maximum sentence is 20 years of confinement (PSR Para. 61). The defense does not

object to the correctness of the calculation of the sentencing guidelines in the PSR, which are the

same as in the plea agreement.

        However, Hays did reserve the right to request a non-guidelines sentence in his plea

agreement. He now requests a below-guideline sentence of 60 months of incarceration for

several reasons. These include:

    1. The Sentencing Guidelines

        The Sentencing Guidelines apply a cross-reference in this case to Guideline 2G2.1,

production of child pornography (PSR Para. 61). The regular guideline for receipt of child

pornography is contained at Guideline 2G2.2. The base offense level for the former guideline is

32, and the latter is 22. While he is not disputing the correctness of these guidelines, this still is a

10-level increase that is not reasonable in light of Hays’ specific conduct. No child pornography

was ever produced in this case and Hays was actually speaking to a law-enforcement officer the




                                                   3
           Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 4 of 10




entire time he was online. He was arrested as part of a law-enforcement sting and no child was

ever victimized by this crime.

       If this 10-level guideline increase were taken away, Hays’ guidelines would be 57-71

months of imprisonment, instead of 168-210 months. This is quite a large discrepancy.

       The Guidelines here would have the Court impose a sentence near the statutory

maximum punishment for his offense – 20 years. This would be inappropriate -- given the

offense and offender -- and would run counter to the 18 U.S.C. § 3553(a) factors.

       The Court also should be aware that the guidelines have not been able to be revised since

2018, because the Sentencing Commission has not had a quorum to revise them. Several courts

have since recognized that many of the guidelines are outdated, too severe, and not grounded in

empirical research. This is especially the case with the child pornography guidelines. The

guidelines have lost relevance and applicability because they have not kept up with the courts or

sentencing policy. They are stuck in time, and this was never the intent of the law that created

them, the Sentencing Reform Act of 1984.

       The Sentencing Commission only has one member now, Judge Charles Breyer of the

Northern District of California. His term actually ended on October 31, 2021, but was extended

because he is the only member of the Commission. In a news interview earlier this month,

Breyer stated that without new members, the Commission also will remain unable to update the

guidelines, including in ways that could guide judges to impose shorter sentences than the

guidelines currently advise in some instances. “I think it’s urgent because it's important to make

sentencing relevant to the views people have today,” Breyer said. 1



       1
         See U.S. Sentencing Panel’s Last Member Breyer urges Biden to Revive Commission at
https://www.reuters.com/legal/government/us-sentencing-panels-last-member-breyer-urges-
biden-revive-commission-2021-11-11/
                                                 4
         Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 5 of 10




       While the Court must consider the Sentencing Guidelines in this case, little weight should

be placed on them, as they do not adequately represent the offense and would provide a

draconian punishment in this case if they were applied. Furthermore, it is well accepted that the

Court is free to disagree with the guidelines even based on policy considerations.

   2. The Offense

       The Court should be aware that this is an attempt offense. While this does not excuse

Hays’ conduct, it certainly places it into a much different context.

        The social media profile that Hays initiated communications with outwardly stated that

it was for an 18-year-old woman (PSR Para. 21). However, at the beginning of the chats, the

undercover agent behind the profile said that she was actually 11 years old. Hays then continued

to chat with her and stated that he was 41 years old. These internet chats continued between

April 27, 2021 and May 11, 2021, the day of Hays’ arrest. This was only a two-week period.

        While Hays admits asking for naked pictures of the undercover agent, none were sent.

Hays did send a picture of his penis to the undercover agent. However, the chats were not

especially graphic or crude like many similar cases and defendants. As read, the chats are not

filthy or shocking, and are contained in the Offense Conduct Section of the PSR.

        When Hays was arrested, he immediately took responsibility for his actions. He waived

his Miranda warnings, consented to a search of his phone, and admitted that he was chatting with

someone whom he thought was 11-years old. Hays even handwrote an apology letter to

“Wanda”, the fictional grandmother of the girl:




                                                  5
           Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 6 of 10




   Hays’ actions are not deserving of a harsh guideline sentence. Yes, he should be punished,

but he should not be grouped with others who commit far worse offenses. Similar offenders in

state cases receive far less time for crimes where actual children were physically abused or

raped. 2 This did not happen here. A guideline sentence in this instance would represent a

disparity between Hays and other similarly-situated defendants.




       2
         This month, in a local story that made national headlines, an affluent teenage defendant
was sentenced as an adult in Lockport for raping four teenage girls at house parties. In spite of
violating his release conditions by looking at pornography, he was sentenced to probation by the
state judge in his case. See https://www.cnn.com/2021/11/21/us/chris-belter-assault-
sentence/index.html; https://www.nytimes.com/2021/11/18/nyregion/christopher-belter-rape-
sentence.html
                                                6
         Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 7 of 10




   3. The Defendant

       Daniel Hays is a 42-year-old resident of Western New York. He has no criminal history.

       Hays has lived most of his life in the Southern Tier and has been estranged from his wife,

Naomi, since before his arrest. At the time of his crime, he was living with his sister in Chaffee,

New York. Hays has a 15-year-old son (with Naomi) and another 21-year-old son who he has no

contact with.

       Hays had a good job as a machine operator until he was laid off in 2020 because of the

pandemic. He had been working for 14 years at the same place to provide for himself and his

family. He was, in short, a productive and contributing member of society. To say that Hays

made a mistake is an understatement. He asks that court to realize that this is not indicative of

the regular way that he has conducted himself throughout his life. His texts and actions to meet

with the undercover were aberrant conduct in an otherwise law-abiding and very productive life.

       Hays will have to pay the price for his lapse of judgment. He will have to serve at least

five years in prison for his actions, now have a felony conviction, and will have to register as a

sex offender in New York State when he gets out of custody. He also will have to be on federal

supervised release for a lengthy term and this will include sex offender treatment, as well as

computer monitoring. All of these are collateral consequences that the Court should consider in

adjudging its sentence.

       There is nothing to indicate that Hays will ever re-offend or pose a danger to the

community. This is his first offense and he has learned his lesson the hard way. He also took

responsibility for his actions early – only two months passed between his arrest and guilty plea –

and saved the Court and the government time and resources.




                                                 7
         Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 8 of 10




                                          CONCLUSION

       Hays fully accepts responsibility for his crime and he admits he should have known

better. In sentencing him, he asks that you consider the sentencing guidelines, his crime and

himself as a person. Hays is deeply sorry for the harm he caused, as well as the shame that he

brought on his own family and especially his teenage son. He asks that the Court sentence him to

the minimum prison sentence in this case – 60 months of confinement, followed by a term of

supervised release with the strict conditions noted on pages 18-19 of the PSR. This would be an

adequate and individualized sentence for him in accordance with the 18 U.S.C. § 3553(a) factors.

       Furthermore, Hays asks that the Court recommend to the BOP that he be housed as close

to Chaffee, New York, as possible, so that he may try to rebuild his family connections. Thank

you for your consideration of his position.



DATED: Rochester, New York, November 22, 2021


                                              Respectfully submitted,

                                              /s/ Steven Slawinski
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TO:    Kyle Rossi
       Assistant United States Attorney

       Jessica Rider
       United States Probation Officer


                                                 8
Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 9 of 10




EXHIBIT A
Case 6:21-cr-06099-FPG Document 20 Filed 11/22/21 Page 10 of 10
